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                                                   FILED
                               UNITED STATES DISTRICT COURT
                                                   AUG 26 2010
                                DISTRICT OF SOUTH DAKOTA
                                                  (§D'J~
                                    SOUTHERN DIVISION
 ***************** ******************************
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                                                                                                      CLEItK
                                                   *
 UNITED STATES OF AMERICA, *      CR. 10-40004-06
                           *
            Plaintiff,     *
                           *
      vs.                  *     OPINION AND ORDER
                           *        ON MOTIONS
 PATRICIO GUZMAN-ORTIZ,    *
                           *
            Defendant.     *
                           *
 ********************************************** *****

                   Motion for Disclosure of Impeaching Information, Doc. 215

         Defendant has moved the court for the disclosure ofimpeaching materials. The United States

  has agreed, as it must, to comply with the requirements of Brady v. Mruyland, 373 U.S. 83 (1963)

  and Giglio v. United States, 405 U.S. 150 (1972) as to any person called as a witness in this case.

  The United States noted, however, it is not required to provide the defense with the criminal records

  of all its potential witnesses but has agreed to provide the defense with the criminal records of its

  testifying witnesses that are properly used for impeachment purposes under the provisions of Rule

  609 of the Federal Rules of Evidence. Accordingly, it is hereby

         ORDERED that the Government shall, regarding testifying witnesses, disclose impeaching

  and exculpatory materials as required by Giglio and Brady, subject to the limitations ofF.R.Evid.

  609. These disclosures shall be made no later than two weeks prior to trial. The remainder of

  Defendant's motion is DENIED.

                        Motion for Disclosure of Other Bad Acts, Doc. 216

         Defendant has moved the court for an order compelling the United States to disclose other

  bad acts testimony which it intends to offer under Federal Rule of Evidence 404(b). The United

  States has agreed to comply, as it must, with Rule 404(b). It is hereby
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         ORDERED the Defendant's Motion for Disclosure of Other Acts is granted, in part, and the

 United States shall provide reasonable notice of its 404(b) evidence no later than two weeks prior

 to trial. The balance of Defendant's motion is DENIED as to items 1-5 identified in the motion.

 United States v. Rusin, 889 F.Supp. 1035, 1036 (N.D.IlI. 1995). (Government's notice of its intent

 to use other crimes evidence was not required to include dates, places and persons involved in

 specific acts, documents pertaining to acts, and statements of issues to which government believed

 such evidence was relevant.); United States v. Jackson, 850 F.Supp 1481, 1493 (D.Kan. 1994).

 (N otice ofintent to use prior bad acts evidence need not provide precise details regarding date, time,

 and place of prior bad acts, but it must characterize prior conduct to degree that fairly apprises

 defendant of its general nature.)

                     Motion for Disclosure of Witness Inducements, Doc. 214

         The defendant has moved the court for an order requiring the United States to disclose any

 agreement entered into between the government and any government witness that could influence

 said witness' testimony. The United States, in response to the motion, has indicated that it will

 disclose information as obligated under Brady v. Maryland, 373 U. S. 83 (1963) and Giglio v. United

  States, 405 U.S. 150 (1972) and their progeny, but otherwise resists Defendant's motion.

  Accordingly, it is hereby

         ORDERED that the defendant's motion for disclosure ofwitness inducements is granted, in

  part, and the United States shall provide the information as required under Brady and Giglio and

  their progeny to defendant no later than two weeks prior to trial. The balance ofDefendant' s motion

  is denied.

                                            CONCLUSION

         As further discussed above, it is hereby



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        ORDERED that:

        1.     Defendant's Motion for Disclosure of Impeaching Information (Doc. 215) is

               GRANTED IN PART AND DENIED IN PART.

        2.     Defendant's Motion for Disclosure of Other Bad Acts (Doc. 216) is GRANTED IN

               P ART AND DENIED IN PART.

        3.     Defendant's Motion for Witness Inducements (Doc. 214) is GRANTED IN PART

               AND DENIED IN PART.

        4.     The motions hearing as regards Defendant Patricio Guzman-Ortiz previously set for

               September 9,2010, at 1:30 p.m. is cancelled.

        Dated this   L    day of August, 2010.

                                            BY THE COURT:


                                            Jo
                                                       States Magistrate Judge




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